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14
                           UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16                              WESTERN DIVISION

17     Edwardo Munoz, individually and on
18     behalf of all others similarly situated,          Case No. 2:18-cv-03893-RGK-AGR

19                                 Plaintiff,              NOTICE OF SUPPLEMENTAL
20           v.                                            DECLARATION REGARDING
                                                           CLAIMS ADMINISTRATION
21     7-Eleven, Inc., a Texas corporation,

22                                    Defendant.
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                       Notice of Supplemental Declaration Regarding Claims Administration
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  1         In advance of the Final Approval Hearing scheduled for November 4, 2019,
  2   Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”), by and through his undersigned
  3   counsel, hereby provides notice that the Settlement Administrator has received an
  4   additional 2,625 timely Claim Forms since the filing of Plaintiff’s Motion for Final
  5   Approval. To date, the Settlement Administrator has received 4,539 timely Claim
  6   Forms, resulting in an updated claims rate of 8.7%.
  7         The fact that additional timely Claim Forms had been received by the
  8   Settlement Administrator was only recently brought to Class Counsel’s attention
  9   and is supported by the Declaration of Gio Santiago, attached hereto as Exhibit A.
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11                                                 Respectfully submitted,
12
13    Dated: October 23, 2019                      Edwardo Munoz, individually and on behalf
                                                   of all others similarly situated,
14
15                                        By:       /s/ Patrick H. Peluso
                                                   One of Plaintiff’s Attorneys
16
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  1                             CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on October 23, 2019.
  5                                               /s/ Patrick H. Peluso
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